                                                                                   Case 2:19-cv-02446-PSG-AGR Document 91 Filed 12/17/21 Page 1 of 3 Page ID #:805




                                                                                     1   Steven Warner (SBN 159404)
                                                                                         Email: swarner@reedsmith.com
                                                                                     2   REED SMITH LLP
                                                                                         355 South Grand Avenue, Suite 2900
                                                                                     3   Los Angeles, CA 90071-1514
                                                                                         Telephone: +1 213 457 8000
                                                                                     4   Facsimile: +1 213 457 8080
                                                                                     5   Attorneys for Defendant
                                                                                         Synchrony Bank
                                                                                     6

                                                                                     7

                                                                                     8                       UNITED STATES DISTRICT COURT
                                                                                     9                     CENTRAL DISTRICT OF CALIFORNIA
                                                                                    10
                 A limited liability partnership formed in the State of Delaware




                                                                                    11

                                                                                    12
                                                                                         ALEJANDRO ODEH-LARA,                     Case No.: 2:19-cv-02446-PSG-AGR
REED SMITH LLP




                                                                                    13
                                                                                                          Plaintiff,              JOINT STIPULATION OF
                                                                                                                                  DISMISSAL WITH PREJUDICE
                                                                                    14
                                                                                              vs.

                                                                                    15
                                                                                         SYNCHRONY BANK,

                                                                                    16
                                                                                                          Defendant.

                                                                                    17

                                                                                    18

                                                                                    19

                                                                                    20

                                                                                    21

                                                                                    22

                                                                                    23

                                                                                    24

                                                                                    25

                                                                                    26

                                                                                    27

                                                                                    28

                                                                                                                              1
                                                                                                    JOINT STIPULATION OF DISMISSAL WITH PREJUDICE
                                                                                   Case 2:19-cv-02446-PSG-AGR Document 91 Filed 12/17/21 Page 2 of 3 Page ID #:806




                                                                                     1 TO THE HONORABLE COURT:

                                                                                     2

                                                                                     3           COME NOW Plaintiff Alejandro Odeh-Lara and Defendant Synchrony Bank
                                                                                     4 and hereby stipulate that the Court may and shall dismiss the instant matter, with

                                                                                     5 prejudice, in its entirety, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii).

                                                                                     6 Each party shall bear its own fees and costs.

                                                                                     7        Respectfully submitted,
                                                                                     8
                                                                                         Date: December 17, 2021                       /s/ Alejandro Odeh-Lara
                                                                                     9
                                                                                                                                       Alejandro Odeh-Lara
                                                                                    10                                                 Plaintiff in Pro Per
                 A limited liability partnership formed in the State of Delaware




                                                                                    11

                                                                                    12
REED SMITH LLP




                                                                                    13
                                                                                         Date: December 17, 2021                       REED SMITH LLP

                                                                                    14                                                 /s/ Steven P. Warner
                                                                                                                                       Steven P. Warner
                                                                                    15                                                 Attorney for Defendant
                                                                                                                                       Synchrony Bank
                                                                                    16

                                                                                    17

                                                                                    18

                                                                                    19          ATTESTATION OF SIGNATURES FILED CONCURRENTLY
                                                                                    20        Pursuant to L.R. 5-4.3.4, I attest that all other signatories listed, and on whose
                                                                                    21 behalf the filing is submitted, concur in the content of this filing and have authorized

                                                                                    22 the filing.

                                                                                    23 Date: December 17, 2021                         REED SMITH LLP
                                                                                                                                       /s/ Steven P. Warner
                                                                                    24                                                 Steven P. Warner
                                                                                                                                       Attorney for Defendant
                                                                                    25                                                 Synchrony Bank
                                                                                    26

                                                                                    27

                                                                                    28

                                                                                                                                   1
                                                                                                     JOINT STIPULATION OF DISMISSAL WITH PREJUDICE
                                                                                   Case 2:19-cv-02446-PSG-AGR Document 91 Filed 12/17/21 Page 3 of 3 Page ID #:807




                                                                                     1
                                                                                                                     CERTIFICATE OF SERVICE
                                                                                     2

                                                                                     3         I hereby certify that on this 17th day of December, 2021, the foregoing was filed

                                                                                     4 with the Clerk of Court using the CM/ECF system, which will send a notification of

                                                                                     5
                                                                                         such filing to the registered participants as identified on the Notice of Electronic Filing.
                                                                                     6

                                                                                     7
                                                                                                                           By    /s/ Steven P. Warner
                                                                                     8                                           Steven P. Warner
                                                                                     9                                           Attorney for Defendant
                                                                                                                                 Synchrony Bank
                                                                                    10
                 A limited liability partnership formed in the State of Delaware




                                                                                    11

                                                                                    12
REED SMITH LLP




                                                                                    13

                                                                                    14

                                                                                    15

                                                                                    16

                                                                                    17

                                                                                    18

                                                                                    19

                                                                                    20

                                                                                    21

                                                                                    22

                                                                                    23

                                                                                    24

                                                                                    25

                                                                                    26

                                                                                    27

                                                                                    28

                                                                                                                                      2
                                                                                                   JOINT STIPULATION OF DISMISSAL WITH PREJUDICE
